AO 106 (REV 4/10) Aiiidavit for Search Wal:rant AUSA ’IREQ]EILME)D-GSOB

UNITED sTATEs DISTRICT- COURT AUG 10 2018

NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
MAG|STRATE JUDGE MAR|A VALDEZ

Al£\||TED STATES D|STR|CT COURT

 

UNDER SE
In the l\/[atter of the Search of: y Case Number:
@=Hi
The apartment located at 4244 West Cermak, Unit 1 8 §§ 5 2 6 `
ZER, Chicago, Ilh'nois, further described in viii ' .z""
Attachment A

APPLICATION AND AFFIDAVIT FOR A SEAR_CH WARRANT

I, Dustin T. Gourley, a Special Agent of the Federal Bureau of Investigation, request a search Warrant and state
under penalty of perjury that I have reason to believe that on the following property or premises:
See Attachment A
located in the Northern District of Illinois, there is now concealed:

See Attachment B v
The basis for the search under Fed. R. Crim. P. 41(0) is evidence, instrumentalities, and fruits.
The search is related to a violation of:
Code Section n Oh”ense Description
Title 18, United States Code, Section 1951(a) interference With commerce by robbery

The application is based on these facts:
'See Attached Affidavit,

Contjnued on the attached sheet.

 

Applicant’s Signature
DUSTIN T. GOURLEY, Special Agent, Federal Bureau of

Investigation
Printed me and t'tle

' ‘~L.
Sworn to before me and signed in my Presence. M

Date: Aup:ust 10. 2018

 

 

Judge’s signature '

City and State: Chica£o. Tllinois MARIA VALDEZ, U.S. Magistrate Judge

Printed name and title

UNITED STATES DISTRICT COURT )
NORTHERN DISTRICT OF ILLINOIS §
AFFIDAVIT

I, Dustin T. Gourley, being duly sworn, state as follows:

1. l am a Special Agent With the Federal Bureau of Investigation. l have
been so employed since approximately 2012.' As part of rny.duties as an FBI Special
Agent, l investigate criminal violations relating to violent crimes, including, among
others, kidnaping, bank robbery, armed robberies of commercial institutions, and the
apprehension of violent fugitives. l have participated in the execution of multiple
federal search warrants

2. This affidavit is made in support of an application for a warrant to search
the apartment located at 4244 West`C`ermak, `Unit ZER, Chicago, lllinois, described
further in Attachment A (the “Subject Pr'emises”), for evidence, instrumentalities,
and fruits described further in Attachment B, concerning the offense of interference
with commerce by robbery, in violation ofTitle 18, United States Code, Section 1951(a)
(“Subject Offense”). t t

3. The statements in this affidavit are based on my personal knowledge, and
on information l have received from other law enforcement personnel and from persons
with knowledge regarding relevant facts. Because this affidavit is being submitted for
the limited purpose of securing a search warrant, I have not included each and every

` fact known to me concerning this investigation l have set forth facts that l believe are

sufficient to establish probable cause to believe that evidence, instrumentalities and

fruits of violations of Title 18, United States Code, Section 1951(a), are located at 4244
West Cermak\, Unit 2ER, Chicago, Illinois.

I. FACTS SUPPORTING PROBABLE CAUSE TO SEARCH

4. On July 27, 2018, at approximately 6:59 a.m., an armed guard/ATM
technician employed by Loomis Armored U.S. (“Victim A”) was robbed at gunpoint by
an unknown black male while servicing a Chase Bank,` located at 3856 West 26th
Street, Chicago, Illinois.

5. The FBI interviewed Victim A, who has been employed by Loomis for
approximately 21 years. On July 27, 2018, Victim A began work at approximately 5:20
a.m., Which entailed picking up the armored Vehicle in Burr Ridge, Illinois, along with
his driver. Victim A advised that the first stop of the day was to service Chase Bank
located at 3856 West 26th Street, Chicago, Illinois. Victim A added that the Chase Bank
location had been serviced three times that week already, and July 27 , 2018 would be
the fourth time.

6. Victim A recalled arriving at the Chase Bank at approximately 6150 a.m.,
When he exited the armored vehicle and approached the vestibule within the Chase
Bank where the ATl\/_[ was located. Victim A explained that the Chase Bank was still
closed, but access to the vestibule could be gained by scanning a credit/debit card.

7. l Victim A gained access to the vestibule and viewed multiple customers
inside the vestibule. Victim A recalled that one of the_customers was a black male,

approximately mid to late 20s/early 30s, approximately 6'0 ~ 6'2, thin build, wearing a

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black baseball hat, black sunglasses, black j acket, black or camouflage pants, no
gloves, and black gym shoes (“Unknown Subj ect” or “UNSUB”). Victim A recalled that
the UNSUB was at an ATM machine, which Was located on the south side of the
vestibule. Victim A explained that the UNSUB was utilizing a card Within the ATl\/_[,
but anoise could be heard which seemed as though an error was occurring

8. Victim A began servicing a machine, which Was located on the northwest
side of the vestibule. Victim A began balancing thev ATM on the northwest side,
changing/swapping the money, and entering the information into his work PDA. As y
part of his work, Victim A had with him a black bag that contained United States
Currency. Victim A explained that the UNSUB began letting other customers use the
south side ATl\/l. Victim A opined that when it was only Victim A and the UNSUB
inside the vestibule, the UNSUB appeared to leave but instead approached Victim A.
Victim A recalled.the UNSUB stated something to the effect of “I don't Want to hurt
you, but,” while pointing a black/dark blue handgun to Victim A’s head. Victim A added
that the gun Was in the UNSUB’s right hand. Victim A recalled attempting to push the
gun away, and a physical struggle ensued. Victim A explained that the UNSUB then
utilized his left hand to pepper spray Victim A. Victim A stated that the UNSUB then
grabbed the black bag containing United States Currency and departed the vestibule.

9. Victim A recalled the UNSUB running north boundon Springfield, then
west bound in an alley. Victim A explained that he departed the~vestibule to pursue
the UNSUB, and unholstered his Weapon. Victim A advised that he accidently pulled

3

4 the trigger and discharged one round, Which struck multiple vehicles Victim A stated
that he stopped pursing the UNSUB approximately 10 yards short of the alley.

10. The FBI seized receipts found Within the vestibule Which appeared to
indicate that the loss from the Subject Offense was approximately $106,335.

v 11. Chase Bank has surveillance cameras that captured the Subject offense
in the vestibule. Chase Bank provided to the FBI still images from the surveillance
video. The still images appeared to be consistent with the information provided by

‘ Victim A. The still images showed the UNSUB inside the Chase Bank vestibule prior
to Victim A arriving Victim A is observed entering the Chase Bank vestibule with _
What appeared to be a black bag of currency. While in the Chase Bank vestibule, the
UNSUB appears to use his cellular phone. At approximately 6:58 a.m., the UNSUB is 1
observed approaching Victim A with what appears to be a firearm in his right hand.
After a brief physical struggle between the UNSUB and Victim A, the UNSUB departs

with the black bag. The photographs include:

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Dlgltal Video Snapshot

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CameraName:?.iAmVeshhule#Z '

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12. The FBI received surveillance video from the Loomis armored vehicle,
Which appeared to depict the .UNSUB arriving in the area of the Chase Bank at
approximately 6:49 a.m., and gaining access into the Chase Bank vestibule. At
approximately 6:50, Victim A is observed entering the vestibule carrying a large black
l bag. At approximately 7:00 a.m., the UNSUB is depicted running away from the area
of the armored vehicle while carrying a large black bag. The UNSUB is observed
traveling north bound on Spring‘field Avenue, and then westbound in the alley. Still

images from the surveillance video included the following:

 

 

 

13. The FBI obtained surveillance footage from Business A, located on West
26th Street, Chicago, Illinois. The surveillance footage depicted the UNSUB arriving to
the area by walking eastbound in the alley that paralleled 26th Street, directly West of
Springfield; and departing the area after the Subject Offense using the-same route.

Still images of the surveillance footage included the following:1

 

1 The time stamp on this surveillance footage appears to be off by approximately 17 hours and
33 minutes.

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14. The FBI obtained surveillance footage from Business B, located on West
26th Street, Chicago, Illinois. The surveillance footage appeared to depict the UNSUB
riding a bicycle from the east/west alley directly north of 26th Street, towards Pulaski
Avenue. The UNSUB appeared to be traveling from the alley where the UNSUB Was
last observed from the surveillance footage obtained from Business A. The UNSUB
appeared to cross Pulaski Avenue onto 25th Place. f

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15. ~The FBI obtained surveillance footage from the personal residence of
Witness A, located on West 25th Place, Chicago, Illinois.2 The footage appeared to
depict the UNSUB traveling westbound on 25th Place on a bicycle, west of Pulaski
Avenue. The footage depicted the UNSUB removing the black hat, and carrying the
black bag. The UNSUB was observed riding the bicycle west bound on 25th Place. A

still image from the footage is below:

 

16. The FBI obtained surveillance footage from Witness B, the owner of the
building located on South Keeler, 'Chicago, Illinois.3 The surveillance footage depicted
the UNSUB traveling north bound on Keeler Avenue towards Ogden Avenue. A still

image from the footage appears below:

 

2 The time stamp on this surveillance footage appeared to be off by approximately one hour.

3 The time stamp on this surveillance footage appeared to be off by approximately 17 to 18
minutes.

11

 

17. The FBI obtained surveillance footage from Business C, located on West
Ogden Avenue, Chicago, Illinois. The surveillance footage appeared to depict the
UNSUB traveling southwest bound on Ogden Avenue, west of Keeler Avenue.

18. The FBI obtained surveillance footage from the residence of Witness C
located on South Kildare, Chicago, Illinois.4 The surveillance video depicted the
UNSUB traveling west/southwest on Ogden Avenue before turning northbound on
Kildare Avenue. The'UNSUB appeared to turn left into an alley, and is observedfrom
a separate camera angle then traveling northbound in the alley directly west of Kildare

Avenue. Below is a still image from the alley directly west of Kildare Avenue:

 

4 The time stamp on this surveillance footage appeared to be off by approximately 4 to 5
minutes

12

 

19. The FBI obtained surveillance footage from the personal residence of
Witness D, located on West Cermak Road, Chicago, Illinois.5 The surveillance footage
depicted the UNSUB traveling northbound in the alley directly west of Kildare
Avenue, north of Ogden Avenue. The UNSUB traveled by bicycle to where the alley
ends, dismounted the bicycle and left the bicycle near a dumpster. The UNSUB is
threw the black bag over a fence, and then jumped over the fence. The UNSUB
appeared to place an object back into the black bag that had fallen out while being
thrown over the fence. The UNSUB then picked up the bag and departed from view. A
separate camera angle showed the UNSUB exit the north side of the courtyard with
the black bag, and he then departed from view. Still images from the footage are as

follows:

 

5 The time stamp on this surveillance footage appeared to be off by approximately one hour and
12 minutes

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20. The FBI obtained surveillance footage from Witness E, located on West

Cermak Road, Chicago, Illinois.6 The surveillance footage appeared to depict the

 

6 The time stamp on this surveillance footage appeared to be off by approximately one hour.

15

UNSUB walking towards an apartment building, wearing jeans, a White undershirt,
black jacket, and carrying a black object in his left hand. The surveillance footage -
appeared to depict the UNSUB entering into an apartment building on West Cermak
Road, Chicago, Illinois at approximately 7 :17 a.m. The address on the door the UNSUB
entered was 4246 West Cermak, Chicago, Illinois. A still image from the footage is

below:

 

 

Identification of IVAN PARKER

21. The FBI interviewed Witness F, who owns the building where the
Subject Premises is located. Witness F stated that the exterior door to 4246 West
Cermak provides access to the entire building, which includes the apartments located
at 4244 - 4250 West Cermak Road. The FBI showed Witness F a still image of the

UNSUB from the video received from Witness D, and Witness F stated that the
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UNSUB resembled IVAN PARKER. Witness F had seen PARKER With lndividual A
when they agreed to rent the apartment Witness F also had a picture of PARKER’s
state identification Witness F further stated that IVAN PARKER lives at the Subject
Premises, 4244 West Cermak, Unit 2ER, Chicago, Illinois, with lndividual A. Witness
F provided the current telephone number for PARKER as XXX-XXX-2388.

22. A search of law enforcement databases revealed XXX~§Q{X~2388 was
associated with a utility service to IVAN PARKER at the Subject Premises.

23. I have viewed PARKER’s booking photographs and state identification
card, and PARKER matches the general physical attributes of the UNSUB.

24. The FBI obtained a criminal history report for PARKER, which revealed
that PARKER has multiple convictions,` including but not limited to, Felon
_ PossessionfU se of a Firearm, Aggravated Battery with a Firearm, Aggravated Assault
With a Gun/Knife/Dangerous Weapons, and l\/lanufacture/Delivery of Cocaine.

25. PARKER was most recently arrested on June 16, 2017 , by the Forest Park
Police Department for Criminal Trespass of a Vehicle. Booking photographs of
PARKER taken as part of that arrest show a tattoo on his right neck area. The location
of the tattoo is consistent with the location of the UNSUB’s neck that was concealed
with an unknown white object during the Subj ect Offense. Below is a comparison of
the still image from the Chase Bank surveillance footage of the UNSUB, with the

booking photograph of PARKER:

17

 

Photo Arrav With Victim A

26. On August 8, 2018, a sequential photographic line-up was conducted with
Victim A. Victim A identified the photograph that depicted PARKER, but he Was not
100% sure.

Interstate Commerce

27 . As a result of the Subject Offense, the assets of Loomis Armored U.S.

were reduced Loomis Armored U.S. is a business that engages in commerce both

inside and outside of the State of` Illinois.

II. SPECIFICS REGARDING SEARCHES OF ELECTRONIC STORAGE
N[EDIA

28. Based upon my training and experience, and the training and experience »
of specially trained personnel whom l have consulted, searches of evidence from_
electronic storage media commonly require agents to download or copy information 7

from the electronic storage media and their components, or remove most or all

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electronic storage media items (e.g. computer hardware, computer software,
computer-related documentation, and cellular telephones) to be processed later by a
qualified computer expert in a laboratory or other controlled environment This is
almost always true_because of the following:

a. Electronic storage media can store the equivalent of thousands of
pages of informationl Especially when the user wants to conceal criminal evidence, he
or she often stores it with deceptive file names. This requires searching authorities to
examine all the stored data to determine whether it is included in the Warrant. This
sorting process can take days or weeks, depending on the volume of data stored, and it
would be generally impossible to accomplish this kind of data search on site.

b. Searching electronic storage media for criminal evidence is a highly
technical process requiring expert skill and a properly controlled environment The
vast array of computer hardware and software available requires even computer
experts to specialize in some.systems and applications, so it is difficult to know before a
search which expert should analyze the system and its _data. The search of an
electronic storage media system is an exacting scientich procedure which is designed to
protect the integrity of the evidence and to recover even hidden, erased, compressed,
password-protected, or encrypted files. Since electronic storage media evidence is
extremely vulnerable to tampering or destruction (which may be caused by malicious
code or normal activities of an operating system), the controlled environment of a

laboratory is essential to its complete and accurate analysis

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29. In order to fully retrieve data from a computer system, the analyst needs
all storage media as well as the computer The analyst needs all the system software
(operating systems or interfaces, and hardware drivers) and any applications software
which may have been used to create the data (whether stored on hard disk drives or on
external media).

30. In addition, electronic storage media such as a computer, its storage
devices, peripherals, and Internet connection interface may be instrumentalities of the
crime(s) and are subject to seizure as such if they contain contraband or were used to

carry out criminal activity.

III. PROCEDURES TO BE FOLLOWED IN SEARCHING ELECTRONIC
STORAGE MEDIA

31. Pursuant to Rule 41(e)(2)(B) of the Federal Rules of Criminal Procedure,
this warrant will authorize the removal of electronic storage media and copying of
electronically stored information found in the premises described in Attachment A so
that they may be reviewed in a secure environment for information consistent with the
Warrant. That review shall be conducted pursuant to the following protocol.

32. The review of electronically stored information and electronic storage
media removed from the premises described in Attachment A may include the
following techniques (the following is a non-exclusive list, and the government_may use
other procedures that, like those listed below, minimize the review of information not

Within the list of items to be seized as set forth herein):

20

a. examination of all the data contained in such computer hardware,
computer software, and/or memory storage devices to determine Whether that data
falls within the items to be seized as set forth in Atta_chment B;

b. searching for and attempting to recover any deleted, hidden, or
encrypted data to determine whether that data falls within the list of items to be seized
as set forth in Attachment B (any data that is encrypted and unreadable will not be
- returned unless law enforcement personnel have determined that the data is not (1) an
instrumentality of the offenses, (2) a fruit of the criminal activity, (3) contraband, (4)
otherwise unlawfully possessed, or (5) evidence of the offenses specified above);

c. surveying file directories and the individual files they contain to
determine whether they include data falling Within the list of items to be seized as set
forth in Attachment B;

d. opening or reading portions of files, and performing key word
searches of Jriles, in order to determine whether their contents fall Within the items to
be seized as set forth in Attachment B.

33. The government will return any electronic storage media removed from
the premises described in Attachment A within 30 days of the removal unless,
pursuant to Rule 41(0)(2) or (3) of the Federal Rules of Crirninal Procedu're, the
removed electronic storage media contains contraband or constitutes an

instrumentality of crime, or unless otherwise ordered by the Court.

21

lV. CONCLUSION

34. ' Based on the above information, l respectfully submit that there is
probable cause to believe that interference with commerce by robbery, in violation of
Title `18, United'States Code, Section 1951(a), has been committed, and that evidence,
instrumentalities, and fruits relating to this criminal conduct, as further described in
Attachment B, will be found in the Subject Premises, as further described in
Attachment A. I therefore respectfully request that this Court issue a search warrant
for the apartment located at 4244 West Cermak, Unit 2ER, Chicago, lllinois, more
particularly described in Attachment A, authorizing the seizure of the items described
in Attachment B.

FURTHER AFFIANT SAYETH NOT.

 

Dustin T. Gourley
Special Agent
Federal Bureau of Investigation

 

 

United States Magistrate udge

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ATTACHMENT A
DESCRIPTI_ON OF PREMISES TO'BE SEARCHED
The Subject Premises is located at 4244 West Cermak, Apartment 2ER,
Chicago, lllinois, 60623. The`Subject Premises is a multi-unit apartment building
l with four entrance doors on'the south side of the building, which is located on the north
side of Cermak Avenue. A photograph of the apartment building, where the Subject

Premises is located, is as follows:

 

 

 

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ATTACHMENT B
LIST OF ITEMS TO BE SEIZED
Evidence, instrumentalities, and fruits concerning the violation of Title 18,
United States Code, Section 1951(a), as follows:

1. Any articles of clothing, shoes, or accessories that resemble those
Worn by the Unknown Subject or"‘UNSUB,” as depicted in Chase Bank and
Loomis surveillance videos of the Subject Offense on July 27, 2018, to include,
but is not limited to, black shoes, j eans, belt, a white V-neck t~shirt, black jacket, l
and black hat. l

2. United States currency.

3. Firearms, firearm magazines, ammunition and other firearm
related items.

4. Any items associated-with pepper spray.

5. Bandages similar to the one worn by the UNSUB during the
Subject Offense. .

6. Black bags similar to the Loomis Armored bag taken during the--
Subject Offense.

7 . Bank account numbers, bank related material and documents, or
other banking information.l

8. Financial transactions, to include receipts or other evidence

reflecting purchases, on or after July 27 , 2018.

9. Recor‘ds, notebooks, correspondence, memoranda, receipts, and/or
photographs relating to the robbery on July 27, 2018, and proceeds from that
robbery,

10. Photographs, maps, or drawings of the area in or around the
location of the bank where the robbery occurred or other banks.

11. Cellular telephones, or` documentation of cellular telephone
numbers associated with IVAN PARKER.

12. Any and all records identifying any social media accounts
associated With IVAN PARKER.

13. g Address and/or telephone books, Rolodex indices, and any papers
reflecting names, addresses, telephone numbers, facsimile numbers, and e-mail _
addresses of individuals who associate with IVAN PARKER.

. 14. Bills, receipts, invoices, or other documentation to that establishes
residency for IVAN PARKER at the Subject Premises or elsewhere

15. Any of the items described in the above paragraphs maintained in
cellular phones and other communication devices, safes, desks, cabinets, filing

cabinets, or hidden compartments on the Subject Premises.

- ADDENDUM T() ATTACHlV[ENT B

Pursuant to Rule 41(e)(2)(B) of the Federal Rules of Criminal Procedure, this
warrant authorizes the removal of electronic storage media and copying of
electronically stored information found in the premises described in Attachment A so
that they may be reviewed in a secure environment for information consistent With the
warrant. That review shall be conducted pursuant to the_ following protocol:

The review of electronically stored information and electronic storage media
removed from the premises described in Attachment A may include the following
techniques (the following is a non~exclusive list, and the government may use other
procedures.that, like those listed below, minimize the review of information not Within
the list of items to be seized as set forth herein):

a. examination of all the data contained in such computer hardware,
computer software, and/or memory storage devices to determine whether
that data falls within the items to be seized as set forth in Attachment B;

b. searching for and attempting to recover any deleted, hidden, or encrypted
data to determine Whether that data falls Within the list of items to be
seized as set forth in Attachment B (any data that is encrypted and
unreadable Will not be returned unless law enforcement personnel have
determined that the data is not (1) an instrumentality of the offenses, (2)
a fruit of the criminal activity, (3) contraband, (4) otherwise unlawfully

'possessed, or (5) evidence of the offenses specified above);

c. surveying file directories and the individual files they contain to
determine whether they include data falling Within the list of items to be
seized as set forth in Attachment B; and

d. opening or reading portions of files, and performing key word searches of
files, in order to determine whether their contents fall within the items to
be seized as set forth in Attachment B.

The government will return any electronic storage media removed from the
premises described in Attachment A within 30 days of the removal unless, pursuant to
Rule 41(c)(2) or (3) of the Federal Rules of Criminal Procedure, the removed electronic
storage media contains contraband or constitutes an instrumentality of crime, or

~ unless otherwise ordered by the Court.

AO 93 (Rev. 11/13) Search and Seizure Wal‘rallt AUSA Tobara S. Richardson, (312) 469-6305

UNITED STATES DISTRICT COURT 2
NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

MLML_
In the l\/latter of the Search of:
Case Number 4
The apartment located at 4244 West Cermak, Unit 5 §
ZER, Chicago, Illinois, further described in
Attachment A

SEARCH AND SEIZUR_E WARRANT

To: Dustin T. Gourley and any authorized law enforcement officer
An application by a federal law enforcement officer or an attorney for the government requests the search of the
following person or property located in the Northern District of Illinois:
See Attachment A
l find that the aflidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property described above, and that such search will reveal:

See Attachinent B

YOU ARE HEREBY COMlV[ANDED to execute this warrant on or before Augiist 24, 2018 in the daytime (6: 00
a. m. to 101 00 p. m. )

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose pre_mises, the property was taken, or leave the copy and receipt at the
place Where the property Was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant ana . :_- States Magistrate
Judge. ` l '

  

 

Date and time issued: August 10,2018 9"€0¥]€

Judge’s signiz'ture

City and State: Chicago, Illinois d MARIA VALDEZ, U.S. Magjstrate Judge
- ' Printed name and title

ATTACHlV[ENT A
DESCRIPTION OF PREMISES TO BE SEARCHED
The Subject Premises is located at 4244 West Cermak, Apartment 2ER,
Chicago, Illinois, 60623. The`Subject Premises is a multi-unit apartment building `
' With four entrance doors on'the south side of the building, which is located on the north
side of Cermak Avenue. A photograph of the apartment building, where the Subject

Premises is located, is as follows:

 

 

ATTACHlV[ENT B
LIST OF ITEMS TO BE SEIZED
Evidence, instrumentalities, and fruits concerning the violation of Title 18,
United States Code, Section 1951(a), as follows:

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Loomis surveillance videos of the Subject Offense on July 27 , 2018, to include,
but is not limited to, black shoes, jeans, belt, a White V~neck t-shirt, black jacket, 1
and black hat.

2. United States currency.

3. Firearms, Hrearm magazines, ammunition and other firearm
related items.

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Subject Offense.

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other banking information.

8. Financial transactions, to include receipts or other evidence

reflecting purchases, on or after July 27 , 2018.

9. Records, notebooks, correspondence, memoranda, receipts, and/or
photographs relating to the robbery on July 27 , 2018, and proceeds from that
robbery.

10. Photographs, maps, or drawings of the area in or around the
location of the bank Where the robbery occurred or other banks.

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» ADDENDUM TO ATTACHMENT B

Pursuant to Rule 41(e)(2)(B) of the Federal Rules of Criminal Procedure, this
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b. searching for and attempting to recover any deleted, hidden, or encrypted
data to determine whether that data falls within the list of items to be
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unreadable Will not be returned unless law enforcement personnel have
determined that the data is not (1) an instrumentality of the offenses, (2)
a fruit of the criminal activity, (3) contraband, (4) otherwise unlawfully

'possessed, or (5) evidence of the offenses specified above);

c. surveying file directories and the individual files they contain to
determine whether they include data falling within the list of 1tems to be
seized as set forth 1n Attachment B; and

d. opening or reading portions of files, and performing key Word searches of
iiles, in order to determine whether their contents fall within the items to
be seized as set forth in Attachment B.

The government will return any electronic storage media removed from the
premises described in Attachment A within 30 days of the removal unless, pursuant to
Rule 41(0)(2) or (3) of the Federal Rules of Criminal Procedure, the removed electronic
storage media contains contraband or constitutes an instrumentality of crime, or
unless otherwise ordered by the Court.

